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                 Exhibit D
          The State’s Court docket sheet
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HCDistrictclerk.com             BERRY, LAWRENCE vs. KADE, DAMON                                                            11/5/2019
                                Cause: 201649928  CDI: 7   Court: 125

DOCUMENTS
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                                                                                                         Jdgm
87449557      Proposed Order on Plaintiffs' Motion for Severance                                              10/04/2019       2
87495412      ORDER SIGNED DENYING MOTION FOR SEVERANCE                                                       10/04/2019       1

87436666      Furie Petroleum's Opposition to Motion to Sever                                                 10/03/2019       3

·> 87436667   Proposed Order                                                                                  10/03/2019       1

87440689      Defendant Tom Hord's Response in Opposition to Plaintiffs Motion to Sever                       10/03/2019       5

87103949      Intervenors Taylor Minerals, LLC's and Giza Holdings, LLC's Joinder in Plaintiffs Motion        09/12/2019       3
              to Sever Defendants Furie Operating Alaska , LLC and Cornucopia Oil and Gas, LLC and
              Notice of Hearing

·> 87103950   Proposed Order                                                                                  09/12/2019       1

87058771      Notice of Hearing on Plaintiffs' Motion to Sever Defendants Furie Operating Alaska, LLC         09/10/2019       3
              and Cornucopia Oil & Gas Company, LLC

87033607      Plaintiffs' Motion to Sever Defendants Furie Operating Alaska, LLC and Cornucopia & Gas         09/09/2019       5
              Company, LLC

·> 87033608   Exhibit A                                                                                       09/09/2019       17

·> 87033609   Exhibit B                                                                                       09/09/2019       17

·> 87033610   Proposed Order                                                                                  09/09/2019       1

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·> 86882027   Exhibit A                                                                                       08/29/2019       33

·> 86882028   Exhibit B                                                                                       08/29/2019       33

85111200      TRIAL SETTING                                                                                   05/06/2019       5

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85039393      DOCKET CONTROL/PRETRIAL ORDER SIGNED                                                            04/30/2019       3

84889855      Plaintiffs' Agreed Motion for Continuance of Trial and Issuance of Agreed Fifth Amended         04/22/2019       5
              Docket Control Order

·> 84889858   Proposed Agreed Fifth Docket Control Order                                                      04/22/2019       3

·> 84889856   Proposed Order Granting Agreed Motion for Continuance of Trial                                  04/22/2019       1

82650652      TRIAL SETTING                                                                                   11/19/2018       5

82566638      ORDER SIGNED GRANTING TRIAL CONTINUANCE                                                         11/12/2018       1

82438889      Plaintiffs' Agreed Motion for Continuance of Trial and Entry of Agreed Fourth Amended           11/02/2018       5
              Docket Control Order

·> 82438892   Notice of Submission                                                                            11/02/2018       3

82438890      Exhibit A                                                                                       11/02/2018       4

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82159137      Defendant, Tom Hord's, Certificate of Written Discovery                                         10/15/2018       3

81465010      Vacation Letter                                                                                 08/28/2018       1

81020163      PROTECTIVE ORDER (CIVIL) ORD SGND                                                               07/30/2018       6

80610994      Reporter's Certification Deposition of Damon Ryan Kade May 14,2018                              07/02/2018       6
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80393289       Civil Process Pick-Up Form                                                              06/15/2018   1

80314133       Payment of Fees Letter                                                                  06/12/2018   1

80184878       LETTER ROGATORY ISSUED                                                                  06/01/2018   18

80150733       Notice of Appearance of Counsel                                                         05/30/2018   3

80150761       Non-Party Energy Capital Partners LLC's Opposition to Plaintiff's Motion to Compel      05/30/2018   7

 ·> 80150762   Declaration in Support of Non-Party Energy Capital Partners, LLC's Opposition to        05/30/2018   3
               Plaintiffs' Motion to Compel

 ·> 80150763   Exhibit A                                                                               05/30/2018   2

 ·> 80150764   Exhibit B                                                                               05/30/2018   2

 ·> 80150765   Proposed Order                                                                          05/30/2018   1

80127313       TRIAL SETTING                                                                           05/29/2018   5

80128516       Intervenor Taylor Minerals, LLC's Motion to Compel Discovery Responses from Defendant   05/29/2018   4
               Furie Operating Alaska, LLC

 ·> 80128517   Exhibit A                                                                               05/29/2018   16

 ·> 80128518   Exhibit B                                                                               05/29/2018   26

 ·> 80128519   Exhibit C                                                                               05/29/2018   12

 ·> 80128520   Exhibit D                                                                               05/29/2018   35

80100388       Plaintiffs' Motion to Compel Non-Party Energy Capital Partners, LLP                     05/25/2018   7

 ·> 80100389   Exhibit A                                                                               05/25/2018   14
 ·> 80100390   Exhibit B                                                                               05/25/2018   100

 ·> 80100392   Plaintiff's Notice of Hearing                                                           05/25/2018   5
 ·> 80100391   Proposed Order                                                                          05/25/2018   1

80074759       DOCKET CONTROL/PRETRIAL ORDER SIGNED                                                    05/24/2018   3
80053919       Motion for Issuance of Letter Rogatory                                                  05/23/2018   6

 ·> 80053920   Exhibit A                                                                               05/23/2018   15
 ·> 80053921   Exhibit B                                                                               05/23/2018   17

 ·> 80053922   Proposed Order on Request for Letters Rogatory for Foreign Deposition Upon Written      05/23/2018   18
               Questions
80053923       Plaintiffs' Notice of Hearing                                                           05/23/2018   4

80065487       ORDER SIGNED GRANTING TRIAL CONTINUANCE                                                 05/23/2018   1
79983126       Notice Regarding Representation Letter                                                  05/17/2018   1

79882991       Motion for Entry of Agreed Third Amended Docket Control Order                           05/10/2018   3
 ·> 79882992   Proposed Agreed Third Amended Docket Control Order                                      05/10/2018   3

79885244       Agreed Motion for Continuance and Entry of Agreed Third Amended Docket Control          05/10/2018   3
               Order
 ·> 79885245   Exhibit A                                                                               05/10/2018   4

 ·> 79885246   Proposed Order                                                                          05/10/2018   1
79536520       Motion for Entry of Third Amended Docket Control Order                                  04/18/2018   3

 ·> 79536522   Proposed Third Amended Docket Control Order                                             04/18/2018   1
79548653       Notice of Submission                                                                    04/18/2018   3

79429618       First Amended Notice of Oral Hearing                                                    04/11/2018   2
restricted     Proposed Order Granting Damon Kade's Motion for Protection and Motion to Quash          04/10/2018   1
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79426019      Defendant Damon Kade's Motion for Protection & Motion to Quash his Deposition             04/10/2018   4

·> 79477322   Exhibit 01                                                                                04/10/2018   2
·> 79477323   Exhibit 02                                                                                04/10/2018   2

·> 79477324   Exhibit 03                                                                                04/10/2018   2
79426140      Notice of Oral Hearing                                                                    04/10/2018   3

79396534      Non-Party Shelf Drilling Distribution, Inc.'s Motion for Protection and Motion to Quash   04/09/2018   5
·> 79396537   Exhibit A                                                                                 04/09/2018   18

·> 79396538   Exhibit B                                                                                 04/09/2018   5
79397084      Proposed Order Granting Non-Party Shelf Drilling Distribution, Inc.'s Motion for          04/09/2018   1
              Protection and Motion to Quash

79353605      Unopposed Motion in Support of Christopher Harris's Unopposed Motion for Admission        04/05/2018   4
              Pro Hac Vice
·> 79353606   Proposed Order Granting Herman H. Yue's Motion in Support of Christopher Harris'          04/05/2018   1
              Motion for Admission Pro Hac Vice

79353644      Unopposed Motion for Admission Pro Hac Vice Of Brandon J. Isaacson                        04/05/2018   6
·> 79353646   Exhibit A                                                                                 04/05/2018   3

·> 79353647   Proposed Order Granting Unopposed Motion for Admission Pro Hac Vice of Brandon J.         04/05/2018   1
              Issacson
79353739      Unopposed Motion for Admission Pro Hac Vice of Christopher Harris                         04/05/2018   6

·> 79353740   Exhibit A                                                                                 04/05/2018   3
·> 79353741   Proposed Order Granting Unopposed Motion for Admission Pro Hac Vice of Christopher        04/05/2018   1
              Harris
79353804      Unopposed Motion in Support of Brandon J. Issacson's Unopposed Motion for Admission       04/05/2018   4
              Pro Hac Vice

·> 79353805   Proposed Order Granting Herman H. Yue's Motion in Support of Brandon J. Isaacson's        04/05/2018   1
              Motion for Admission Pro Hac Vice
79335727      Notice of Hearing on the Furie Defendants Motion to Compel Production of Documents        04/04/2018   2

79335728      Proposed Order                                                                            04/04/2018   1
79340332      Non-Party Energy Capital Partners, LLC's Motion for Protective Order                      04/04/2018   8

·> 79340333   Exhibit A                                                                                 04/04/2018   16
·> 79340334   Exhibit B                                                                                 04/04/2018   15

·> 79340335   Exhibit C                                                                                 04/04/2018   12
·> 79340336   Exhibit D                                                                                 04/04/2018   21

·> 79340337   Exhibit E                                                                                 04/04/2018   18
·> 79340338   Exhibit F                                                                                 04/04/2018   9
·> 79340339   Proposed Order                                                                            04/04/2018   1

79311503      Correspondence with Court requesting an emergency off-docket hearing                      04/03/2018   8
79248841      Furie Operating Alaska, LLC, Furie Petroleum Company, LLC, and Cornucopia Oil & Gas       03/28/2018   4
              Comapny, LLC's Motion to Quash and Motion for Protection

·> 79248842   Exhibit A                                                                                 03/28/2018   80
·> 79248843   Exhibit B                                                                                 03/28/2018   15
·> 79248844   Exhibit C                                                                                 03/28/2018   12
·> 79248845   Proposed Order                                                                            03/28/2018   1

79249037      Furie Operating Alaska, LLC, Furie Petroleum Comapny, LLC, and Cornucopia Oil & Gas       03/28/2018   7
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              Comapany LLC's Motion to Compel Production of Documents from Allen Lawrence Berry,
              Danny Davis, and Taylor Minerals, LLC
·> 79249038   Exhibit A                                                                                    03/28/2018   6
·> 79249040   Exhibit B                                                                                    03/28/2018   7

·> 79249041   Exhibit C                                                                                    03/28/2018   6
·> 79249042   Exhibit D                                                                                    03/28/2018   3
·> 79249044   Exhibit E                                                                                    03/28/2018   30
·> 79249045   Exhibit F                                                                                    03/28/2018   14

·> 79249046   Exhibit G                                                                                    03/28/2018   14
·> 79249047   Exhibit H                                                                                    03/28/2018   12
79197827      Notice of Intention to take Deposition by Written Questions                                  03/26/2018   79
79173441      Intervenors' Notice of Intention to take the Oral Deposition and/or Videotaped Deposition    03/23/2018   14
              of Trent J. Kososki with Subpoena Duces Tecum
79173442      Interevenors' Notice of Intention to take the Oral Deposition and/or Videotaped Deposition   03/23/2018   11
              of the Corporate Representative of Energy Capital Partners, L.L.C. and with Subpoena
              Duces Tecum

79013833      SETTING REMINDER                                                                             03/14/2018   5
79031349      TRIAL PREPARATION ORDER SIGNED                                                               03/13/2018   5
78964284      Defendant's Motion to Quash and Objection to Plaintiffs' Third Amended Notice to take the    03/09/2018   3
              Oral Deposition and/or Videotaped Deposition of Tom Hord
78941352      Plaintiffs Notice of Enrollment of Additional Counsel                                        03/08/2018   3
78879383      Vacation Letter - March 5,2018                                                               03/05/2018   1
78866724      Vacation Letter - March 2,2018                                                               03/02/2018   1

78818060      Proposed Order on Non-Party Shelf Drilling Distribution, Inc.'s Motion to Quash and          02/28/2018   1
              Motion for Protection
78827006      Non-Party Shelf Drilling Distribution, Inc.'s Motion to Quash and Motion for Protection      02/28/2018   4

·> 78827007   Exhibit A                                                                                    02/28/2018   15
·> 78827008   Exhibit B                                                                                    02/28/2018   2
·> 78827009   Exhibit C                                                                                    02/28/2018   5
78725808      Notice of Intention to take Deposition by Written Questions                                  02/22/2018   13

78519350      Furie Operating Alaska, LLC, Furie Petroleum Company, LLC, and Cornucopia Oil & Gas          02/08/2018   4
              Company, LLC's Motion to Quash Plaintiffs' Notice of Intention to take Depositions by
              Written Questions and Motion for Protection
·> 78519351   Exhibit A                                                                                    02/08/2018   15
·> 78519352   Exhibit B                                                                                    02/08/2018   15
·> 78519353   Proposed Order                                                                               02/08/2018   1

78457124      Furie Operating Alaska, LLC, Furie Petroleum Company, LLC, Cornucopia Oil & Gas              02/02/2018   4
              Company, LLC, and Damon Kade's First Amended Motion to Quash Plaintiffs' Amended
              Notices of Depositions and Motion for Protection
·> 78457125   Exhibit A                                                                                    02/02/2018   11
·> 78457126   Exhibit B                                                                                    02/02/2018   11
·> 78457127   Exhibit C                                                                                    02/02/2018   11

·> 78457128   Exhibit D                                                                                    02/02/2018   5
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78327003      Furie Operating Alaska, LLC, Furie Petroleum Company, LLC, Cornucopia Oil & Gas          01/26/2018   4
              Company, LLC, and Damon Kade's Motion to Quash Plaintiffs' Second Amended Notices
              of Depositions
·> 78327004   Exhibit A                                                                                01/26/2018   11

·> 78327005   Exhibit B                                                                                01/26/2018   11
·> 78327006   Exhibit C                                                                                01/26/2018   11
·> 78327007   Exhibit D                                                                                01/26/2018   5
78307610      Notice of Off-Docket Conference                                                          01/25/2018   2

78308579      Defendant's Motion to Quash and Objection to Plaintiff's Second Amended Notice to Take   01/25/2018   3
              the Oral Deposition and/or Videotaped Deposition of Lars Degenhardt

78308580      (Proposed Order) Defendant's Motion to Quash and Objection to Plaintiff's Second         01/25/2018   1
              Amended Notice to Take the Oral Deposition and/or Videotaped Deposition of Lars
              Degenhardt
78309130      Defendant's Motion to Quash and Objection to Plaintiff's Second Amended Notice to take   01/25/2018   3
              the Oral Deposition and/or Videotaped Deposition of Tom Hord

78309131      (Proposed Order) Defendant's Motion to Quash and Objection to Plaintiff's Second         01/25/2018   1
              Amended Notice to take the Oral Deposition and/or Videotaped Deposition of Tom Hord
78230094      Notice of off-Docket Conference                                                          01/19/2018   2

78230131      First Amended Notice of Off-Docket Conference                                            01/19/2018   2
77900218      Amended Notice of Hearing                                                                12/20/2017   2
77381136      TRIAL SETTING                                                                            11/10/2017   6
77351848      ORDER SIGNED GRANTING TRIAL CONTINUANCE                                                  11/08/2017   1

77353894      DOCKET CONTROL/PRETRIAL ORDER SIGNED                                                     11/08/2017   3
77316234      Proposed Order                                                                           11/06/2017   1
77273576      Agreed Motion for Continuance of Trial and Entry of Agreed Second Amended Docket         11/02/2017   4
              Control Order
·> 77273577   Proposed Agreed Second Amended Docket Control Order                                      11/02/2017   3
77246890      Plaintiffs' Sixth Amended Petition                                                       10/31/2017   17
              Plaintiffs' Sixth Amended Petition                                                       10/31/2017

77247750      Defendant Lars Degenhardt's (Subject to His Special Appearance) and Defendant Tom        10/31/2017   2
              Hord's Responses to Plaintiif's Discovery Motion toCompel Set for 11.3.17
77231876      Cornucopia and Furie Defendants' Response to Plaintiffs' Motion to Compel                10/30/2017   10

·> 77231877   Exhibit 01                                                                               10/30/2017   4
·> 77231878   Exhibit 02                                                                               10/30/2017   5
·> 77231879   Exhibit 03                                                                               10/30/2017   3
·> 77231880   Exhibit 04                                                                               10/30/2017   5

·> 77231881   Exhibit 05                                                                               10/30/2017   42
·> 77231882   Exhibit 06                                                                               10/30/2017   9
·> 77231883   Exhibit 07                                                                               10/30/2017   32
77232004      Damon Kade's Response to Plaintiff's Motion to Compel Production of Documents &          10/30/2017   10
              Responses to Written Discovery
·> 77232005   Exhibit 01                                                                               10/30/2017   32
·> 77232006   Exhibit 02                                                                               10/30/2017   3

·> 77232007   Exhibit 03                                                                               10/30/2017   2
·> 77232008   Exhibit 04                                                                               10/30/2017   9
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·> 77232009   Exhibit 05                                                                                      10/30/2017   2
·> 77232012   Exhibit 06                                                                                      10/30/2017   33

·> 77232013   Proposed Order                                                                                  10/30/2017   1
77176561      Third Amended Notice of Hearing                                                                 10/26/2017   2
77158541      ORDER GRANTING LEAVE TO FILE PLEADING SIGNED                                                    10/25/2017   2
77134029      Amended Notice of Hearing                                                                       10/23/2017   2

77088950      Proposed Agreed Order                                                                           10/19/2017   2
77089068      Amended Notice of Hearing                                                                       10/19/2017   2
77011926      Second Amended Answer and Counterclaims                                                         10/13/2017   7
76943141      PROTECTIVE ORDER (CIVIL) ORD SGND                                                               10/09/2017   7

76868996      Defendant Lars Degenhardt's Objections and Responses to Plaintiffs' Second Motion to            10/03/2017   5
              Compel Responses to Plaintiffs' Second Motion to Compel Responses to Written Discovery
              and to Compel the Deposition of Lars Degengardt
·> 76868997   Proposed Order                                                                                  10/03/2017   1
76909061      DOCKET CONTROL/PRETRIAL ORDER SIGNED                                                            10/03/2017   2
76673839      Notice of Hearing on Defendants' Motion to Quash Notice of Depositions                          09/18/2017   2

76644507      first amended notice of hearing on plaintiffs second motion to compel responses written         09/15/2017   2
              discovery from lars degenhardt and to compel the deposition of lars degenhardt
76639073      Notice of Hearing on Defendant's Motions to Quash and Objections to Depositions of Tom          09/14/2017   2
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76643936      Defendants' Motion to Quash Notice of Depositions                                               09/14/2017   3

·> 76643937   Proposed Order                                                                                  09/14/2017   1
76614297      Defendant Degenhardt's Motion to Quash and Objection to Plaintiff's First Amended Notice        09/13/2017   3
              of Deposition and/or Videotaped Deposition of Lars Degenhardt

76614558      Defendant Tom Hord's Motion to Quash and Objection to Plaintiff's First Amended Notice          09/13/2017   3
              of Deposition and/or Videotaped Deposition of Tom Hord
76587542      Notice of Hearing on Plaintiffs' Motion to Compel Production of Documents and Responses         09/11/2017   2
              to Written Discovery from defendants and Plaintiffs' Motion for Leave to Amend Petition to
              Substitute Plaintiff
76582236      Plaintiff's Motion to Compel Production of Documents and Responses to Written Discovery         09/08/2017   8
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76582237      Exhibit A                                                                                       09/08/2017   3

76582238      Exhibit B                                                                                       09/08/2017   3
76582239      Exhibit C                                                                                       09/08/2017   3

76582240      Exhibit D                                                                                       09/08/2017   37

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76582242      Exhibit F                                                                                       09/08/2017   45

76582243      Exhibit G                                                                                       09/08/2017   33

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76582246      Proposed Order                                                                                  09/08/2017   1

76582279      Plaintiff's Motion for Leave to Amend Petition to Substitute Plaintiff                          09/08/2017   4
·> 76582282   Exhibit A                                                                                       09/08/2017   18

·> 76582285   Exhibit B                                                                                       09/08/2017   18

·> 76582286   Proposed Order granting plaintiffs motion for leave to amend petition to substitute plaintiff   09/08/2017   1
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76560145      Plaintiff's Motion For Entry of Protective Order                                          09/07/2017   3

·> 76560146   Proposed Protective Order                                                                 09/07/2017   7

76560176      Notice of Hearing On Plaintiffs' Motion For Entry of Protective Order                     09/07/2017   2
76542348      Plaintiffs' Motion for Entry of Docket Control Order                                      09/05/2017   4

·> 76542354   Amended Docket Control Order                                                              09/05/2017   2
·> 76542350   Exhibit A                                                                                 09/05/2017   3

·> 76542351   Exhibit B                                                                                 09/05/2017   2

·> 76542352   Exhibit C                                                                                 09/05/2017   2
76546338      Notice of Submission on Plaintiffs? Motion for Entry of Docket Control Order by           09/05/2017   2
              Submission Only
76535337      Plaintiffs' Fifth Amended Petition                                                        09/01/2017   17

76282543      Notice of Hearing on Plaintiffs' Second Motion to Compel Responses to Written Discovery   08/09/2017   2
              From Lars Degenhardt and to Compel the Deposition of Lars Degenhardt

76266522      Defendant Lars Degenhardt's Notice of Oral Hearing for His Verified Rule 120A Special     08/08/2017   2
              Appearance to Object to Jurisdiction

76252629      Intervenors' Joinder in Plaintiffs' Verified Motion for Continuance of Hearing on Lars    08/07/2017   4
              Degenhardt's Special Appearance

76127588      TRIAL SETTING                                                                             07/28/2017   5
76055841      Plaintiff's Verified Motion for Continuance of Hearing on Defendant Lars Degenhardt's     07/24/2017   5
              Special Appearance

·> 76055842   Proposed Order on Motion to Continue Lars Degenhardt's Special Appearance Hearing         07/24/2017   1

76058769      Plaintiffs Second Motion to Compel Responses to Written Discovery From Lars               07/24/2017   8
              Degenhardt and to Compel the Deposition of Lars Degenhardt

·> 76058771   Exhibit A                                                                                 07/24/2017   6
·> 76058772   Exhibit B                                                                                 07/24/2017   4

·> 76058773   Exhibit C                                                                                 07/24/2017   3
·> 76058774   Exhibit D                                                                                 07/24/2017   2

·> 76058775   Exhibit E                                                                                 07/24/2017   3

·> 76058776   Exhibit F                                                                                 07/24/2017   7
·> 76058777   Exhibit G                                                                                 07/24/2017   6

·> 76058778   Exhibit H                                                                                 07/24/2017   2

·> 76058779   Exhibit I                                                                                 07/24/2017   16
·> 76058780   Exhibit J                                                                                 07/24/2017   18

·> 76058781   Exhibit K                                                                                 07/24/2017   6
·> 76058782   Exhibit L                                                                                 07/24/2017   41

·> 76058783   Exhibit M                                                                                 07/24/2017   22

·> 76058784   Exhibit N                                                                                 07/24/2017   5
·> 76058785   Exhibit O                                                                                 07/24/2017   9

·> 76058786   Exhibit P                                                                                 07/24/2017   5

·> 76058787   Exhibit Q                                                                                 07/24/2017   4
·> 76058770   Proposed Order                                                                            07/24/2017   1

76062974      ORDER SIGNED GRANTING TRIAL CONTINUANCE                                                   07/24/2017   1
76063375      ORDER SIGNED QUASHING DEPOSITION                                                          07/24/2017   1
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75929677      Defendant Lars Degenhardt's Notice of Oral Hearing for His Verified Rule 120A Special      07/14/2017   2
              Appearance to Object to Jurisdiction

75931243      Proposed Order                                                                             07/14/2017   1
75904304      Defendant Lars Degenhardt's Notice of Oral Hearing for His Verified Rule 120A Special      07/13/2017   2
              Appearance to Object to Jurisdiction
75905242      Defendant Lars Degenhardt's Notice of Cancellation of Oral Hearing for His Verified Rule   07/13/2017   2
              120A Special Appearance to Object to Jurisdiction

75905584      Defendant Lars Degenhardts Notice of Submission and Request for of Oral Hearing for His    07/13/2017   2
              Verified Rule 120A Special Appearance to Object to Jurisdiction

75910082      Danny Davis's Original Answer to Counterclaims                                             07/13/2017   5

75890504      Plaintiffs Response to the Motions to Quash Deposition Notices Filed By Furie Operating    07/12/2017   5
              Alaska, LLC, Cornucopia Oil & Gas Company, LLC, Furie Petroleum Company, LLC, Tom
              Hord, Lars Degenhardt and Damon Kade

·> 75890505   Exhibit A                                                                                  07/12/2017   9
·> 75890506   Exhibit B                                                                                  07/12/2017   6

·> 75890507   Exhibit C                                                                                  07/12/2017   57

·> 75890508   Exhibit D                                                                                  07/12/2017   4
·> 75890509   Exhibit E                                                                                  07/12/2017   6

·> 75890510   Proposed Order                                                                             07/12/2017   1
75812333      Certificate of Written Discovery                                                           07/06/2017   2

75815070      Certificate of Written Discovery                                                           07/06/2017   2

75794501      Defendants Joint Motion to Quash Notices of Depositions                                    07/05/2017   3
·> 75794502   Exhibit A                                                                                  07/05/2017   3

·> 75794503   Exhibit B                                                                                  07/05/2017   11

·> 75794504   Exhibit C                                                                                  07/05/2017   5
·> 75794505   Exhibit D                                                                                  07/05/2017   11

·> 75794506   Exhibit E                                                                                  07/05/2017   11
·> 75794507   Exhibit F                                                                                  07/05/2017   5

·> 75794509   Exhibit G                                                                                  07/05/2017   5

·> 75794510   Exhibit H                                                                                  07/05/2017   3
·> 75794511   Notice of Submission                                                                       07/05/2017   2

75796752      Notice of Submission                                                                       07/05/2017   2

75775240      Defendant Damon Kades Motion To Quash His Deposition                                       07/03/2017   5
·> 75775241   Exhibit 01                                                                                 07/03/2017   11

·> 75775242   Exhibit 02                                                                                 07/03/2017   5

·> 75775243   Proposed Order                                                                             07/03/2017   1
75750581      Intervenors' Joinder in Plaintiffs Verified Motion for Continuance                         06/30/2017   3

75750583      Plaintiff's Verified Reply to Response to Verified Motion for Continuance                  06/30/2017   8
·> 75750585   Exhibit A                                                                                  06/30/2017   2

·> 75750586   Exhibit B                                                                                  06/30/2017   2

·> 75750587   Exhibit C                                                                                  06/30/2017   2
·> 75750588   Exhibit D                                                                                  06/30/2017   6

·> 75750589   Exhibit E                                                                                  06/30/2017   4
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·> 75750590   Exhibit F                                                                                06/30/2017   5

·> 75750591   Exhibit G                                                                                06/30/2017   2
·> 75750592   Exhibit H                                                                                06/30/2017   3

·> 75750593   Exhibit I                                                                                06/30/2017   3

·> 75750595   Exhibit J                                                                                06/30/2017   9
·> 75750596   Exhibit K                                                                                06/30/2017   8

·> 75750597   Exhibit L                                                                                06/30/2017   2

·> 75750584   Verification                                                                             06/30/2017   1
75710747      Defendants' Response in Opposition to Plaintiffs' Motion for Continuance                 06/28/2017   6

·> 75710748   Exhibit A                                                                                06/28/2017   4
·> 75710749   Exhibit B                                                                                06/28/2017   2

·> 75710750   Exhibit C                                                                                06/28/2017   2

·> 75710751   Proposed Order                                                                           06/28/2017   1
75612303      SETTING REMINDER                                                                         06/21/2017   5

75616788      Plaintiffs' Verified Motion for Continuance                                              06/21/2017   5

·> 75622086   Notice of Hearing on Plaintiffs Verified Motion for Continuance By Submission Only       06/22/2017   2
·> 75616789   Proposed Order                                                                           06/21/2017   1

75600360      TRIAL PREPARATION ORDER SIGNED                                                           06/19/2017   5
75273644      CounterAnswer                                                                            05/26/2017   7

74977086      Rule 11 Agreement                                                                        05/05/2017   1

74779874      Plaintiffs Fourth Amended Petition                                                       04/21/2017   17
74780763      Answer And Counterclaims                                                                 04/21/2017   6

74959629      Civil Process Pick-Up Form                                                               03/31/2017   1

74230510      ORDER SIGNED DENYING SPECIAL EXCEPTIONS                                                  03/13/2017   1
74230517      ORDER SIGNED GRANTING CONTINUANCE                                                        03/13/2017   1

74198542      Defendant Lars Degnhardts Response to Plaintiffs Motion for Continuance and Motion to    03/10/2017   4
              Compel

·> 74198544   Exhibit A                                                                                03/10/2017   5
·> 74198545   Exhibit B                                                                                03/10/2017   8

·> 74198546   Exhibit C                                                                                03/10/2017   3

·> 74198543   Proposed Order                                                                           03/10/2017   1
74204954      Intervenors Objection and Joiner in Plaintiffs Response and Objection to Defendants      03/10/2017   3
              Special Exceptions to Third Amended Petition and Plea in Intervention

74175237      Plaintiffs Response and Objection to Defendants Special Exceptions to Third Amended      03/09/2017   4
              Petition

·> 74175238   Filing Letter                                                                            03/09/2017   2

74176217      Plaintiffs Supplement to Their Motion to Compel Responses Written Discovery From Lars    03/09/2017   3
              Degenhardt and to Compel the Deposition of Lars Degenhardt
·> 74176218   Filing Letter                                                                            03/09/2017   2

74181812      Plaintiffs Response and Objection to Defendant Lars Degenhardt's Amended Rule 120A       03/09/2017   4
              Special Appearance

·> 74181813   Filing Letter                                                                            03/09/2017   2

74185192      Intervenors Joinder in Plaintiffs Motion for Continuance of Hearing/Submission on Lars   03/09/2017   4
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              Dehenhardt's Special Appearance and Objection
74185193      Intervenors Objection and Joinder in Plaintiffs Response and Objection to Defendant Lars   03/09/2017   4
              Degenhardts Amended Rule 120A Special Apperance

74160459      Defendant Lars Degenhardt's (1) Amended Rule 102A Special Appearance to Object to          03/08/2017   4
              Jurisdiction and (2) Reply to Plaintiffs Response

74141386      Defendants Special Exceptions to Third Amended Petition and Plea in Intervention           03/07/2017   5

·> 74141387   Proposed Order                                                                             03/07/2017   1
74145511      Defendants Special Exceptions to Third Amended Petition and Plea in Intervention           03/07/2017   5

·> 74145512   Exhibit A                                                                                  03/07/2017   73
·> 74145513   Exhibit B                                                                                  03/07/2017   16

74149927      Certificate of Service                                                                     03/07/2017   2

·> 74149928   Filing Letter                                                                              03/07/2017   2
74099868      Plea In Intervention                                                                       03/03/2017   18

74111984      Plaintiffs Third Amended Petition                                                          03/03/2017   15

·> 74111985   Filing Letter                                                                              03/03/2017   2
74112885      Plaintiffs Motion to Compel Responses to Written Discovery from Lars Denenhardt and to     03/03/2017   5
              Compel the Deposition of Lars Dengehart

·> 74112889   Exhibit A                                                                                  03/03/2017   7

·> 74112890   Exhibit B                                                                                  03/03/2017   6
·> 74112891   Exhibit C                                                                                  03/03/2017   2

·> 74112892   Exhibit D                                                                                  03/03/2017   16

·> 74112893   Exhibit E                                                                                  03/03/2017   4
·> 74112894   Exhibit F                                                                                  03/03/2017   5

·> 74112895   Exhibit G                                                                                  03/03/2017   6
·> 74112888   Filing Letter                                                                              03/03/2017   2

·> 74112886   Notice of Hearing                                                                          03/03/2017   2

·> 74112887   Proposed Order                                                                             03/03/2017   1
74112971      Plaintiffs Motion for Continuance of Hearing on Lars Dengenhardts Special Appearance       03/03/2017   6

·> 74112975   Exhibit A                                                                                  03/03/2017   7

·> 74112976   Exhibit B                                                                                  03/03/2017   6
·> 74112977   Exhibit C                                                                                  03/03/2017   2

·> 74112978   Exhibit D                                                                                  03/03/2017   16
·> 74112979   Exhibit E                                                                                  03/03/2017   6

·> 74112973   Filing Letter                                                                              03/03/2017   2

·> 74112972   Notice of Hearing                                                                          03/03/2017   2
·> 74112974   Proposed Order                                                                             03/03/2017   1

74113206      Plaintiffs Response to Defendants Lars Degenhardts Verified Rule 120A Special              03/03/2017   10
              Appearance to Object to Jurisdiction

·> 74113209   Exhibit A                                                                                  03/03/2017   11

·> 74113210   Exhibit B                                                                                  03/03/2017   16
·> 74113211   Exhibit C                                                                                  03/03/2017   6

·> 74113207   Filing Letter                                                                              03/03/2017   2
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·> 74113208   Proposed Order                                                                              03/03/2017   1

73910655      Defendant's Objection to Plaintiff's Notice of Deposition and Motion to Quash               02/17/2017   4
·> 73910656   Proposed Order                                                                              02/17/2017   1

73803474      Certificate of Written Discovery                                                            02/10/2017   2
73768341      Plaintiffs Resposne to Defendant Damon Kade's First Amended Special Exceptions              02/08/2017   4

·> 73768342   Filing Letter                                                                               02/08/2017   2

73772402      Defendant's Amended Notice of Oral Hearing on Special Exceptions                            02/08/2017   2
73641942      Defendants Lars Degenhardts Second Amended Notice of Oral Hearing for His Verified          01/31/2017   2
              Rule 120A Special Appearance to Object to Jurisdiction
73652643      Defendants Third Amended Notice of Hearing on Special Exceptions                            01/31/2017   2

73569564      Return of Service                                                                           01/25/2017   3
73569587      Return of Service                                                                           01/25/2017   3

73125609      Defendants First Amended Answer and Special Exceptions                                      12/16/2016   5

·> 73125610   Exhibit A                                                                                   12/16/2016   73
·> 73125611   Exhibit B                                                                                   12/16/2016   16

·> 73125612   Proposed Order                                                                              12/16/2016   1

73125997      Defendants' Notice of Hearing on Special Exceptions                                         12/16/2016   2
73129713      Defendant Damon Kades First Amended Answer and Special Exceptions                           12/16/2016   4

73129781      Defendants Notice of Oral Hearing on Special Exceptions                                     12/16/2016   2
73102868      DOCKET CONTROL/PRETRIAL ORDER SIGNED                                                        12/14/2016   4

73020174      First Amended Notice of Oral Hearing for Defendant Lars Degenhardt's Verified Rule 120A     12/08/2016   2
              Special Appearance to Object to Jurisdiction

72979474      Notice of Oral Hearing for Defendant Lars Degenhardts Verified Rule 120A Special            12/06/2016   2
              Appearance to Object to Jurisdiction

72708447      Defendant Lars Degenhardt's Verified Rule 120A Special Appearance to Object to              11/14/2016   5
              Jurisdiction

72708461      Defendant Tom Hords Original Answer                                                         11/14/2016   2
72559829      Defendants' Amended Notice Of Hearing On Special Exceptions                                 11/01/2016   2

72577579      Plainitff's Second Amended Petition                                                         11/01/2016   10

·> 72577580   Civil Process Request Form                                                                  11/01/2016   2
·> 72577581   Filing Letter for Plainti                                                                   11/01/2016   2

72280864      Notice of Oral Hearing on Defendant Damon Kades's Special Exceptions                        10/12/2016   2

72281295      Defendants' Notice of Hearing on Special Exceptions                                         10/12/2016   2
72202368      ORDER GRANTING SUBSTITUTED SERVICE SIGNED                                                   10/05/2016   4

72130322      Proposed Order Authorizing Substituted Service                                              09/30/2016   4
72086362      Plaintiffs Motion for Substitute Service of Process on Defendants Lars Degenhardt and Tom   09/28/2016   3
              Hord
·> 72086363   Exhibit A                                                                                   09/28/2016   3

·> 72086364   Filing Letter                                                                               09/28/2016   2

71775186      Defendant Damon Kades Original Answer Special Exceptions and Request for Disclosure         09/06/2016   3
71664929      Defendants Original Answer and Special Exceptions                                           08/29/2016   4

·> 71664931   Exhibit A                                                                                   08/29/2016   3
71546699      ORDER SIGNED DENYING TRANSFER OF CASE TO ANOTHER DIST COURT                                 08/18/2016   1
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71416464      Return of Service                                          08/10/2016   1

71386726      Return of Service                                          08/08/2016   1
71386757      Return of Service                                          08/08/2016   1

71341126      Civil Process Pick Up Form                                 08/02/2016   1

71304398      Plaintiff's First Amended Original Petition                08/01/2016   6
·> 71304400   Civil Process Request Form                                 08/01/2016   2

·> 71304401   Civil Process Request Form                                 08/01/2016   2

·> 71304402   Civil Process Request Form                                 08/01/2016   2

71255830      Plaintiffs Original Petition                               07/28/2016   4
·> 71255831   Civil Case Information Sheet                               07/28/2016   2
